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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

ROY and CAROL ROBERTS,
individuals,
                                                           Case No.:
        Plaintiffs,
v.

WELLS FARGO BANK, N.A., d/b/a
WELLS FARGO HOME MORTGAGE, INC.,
a national association,

      Defendant.
_____________________________________/

                                         COMPLAINT

        COME NOW Plaintiffs, ROY and CAROL ROBERTS (hereinafter, “Plaintiffs”), by and

through the undersigned counsel, and sue Defendant, WELLS FARGO BANK, N.A., d/b/a

WELLS FARGO HOME MORTGAGE, INC. (hereinafter, “Defendant”). In support thereof,

Plaintiffs allege:

                               PRELIMINARY STATEMENT

        This is an action for damages brought by individual consumers for Defendant’s violations

of the Florida Consumer Collection Practices Act, Chapter 559, Florida Statutes (hereinafter,

“FCCPA”) and the Telephone Consumer Protection Act, 47 United States Code, Section 227

(hereinafter, “TCPA”).

                                JURISDICTION AND VENUE

        1.      Jurisdiction of this Court arises under 28 United States Code, Section 1337, and

supplemental jurisdiction exists for the FCCPA claims pursuant to 28 United States Code,

Section 1367.

        2.      At all material times herein, the conduct of Defendant, complained of below,
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occurred in Pinellas County, Florida.

       3.      At all material times herein, Plaintiffs are individuals residing in Pinellas County,

Florida.

       4.      Defendant is a national association existing under the laws of the State of

California, that, itself and through its subsidiaries, regularly extends and services residential

home mortgages and notes to consumers in Pinellas County, Florida.

                                 GENERAL ALLEGATIONS

       6.      At all material times herein, Defendant is a “creditor” as defined by Florida

Statutes, Section 559.55(3).

       7.      At all material times herein, Defendant attempts to collect a debt, specifically a

consumer home mortgage and note referenced by account number ending in -3657 (hereinafter,

“Debt”).

       8.      At all material times herein, the Debt is a consumer debt, incurred primarily for

personal, household or family use.

       9.      At all material times herein, the Defendant is a “person” subject to Florida

Statutes, Section 559.72. See Florida Statutes, Section 559.55(3); Schauer v. General Motors

Acceptance Corp., 819 So. 2d 809 (Fla. 4th DCA 2002).

       10.     At all material times herein, Defendant’s conduct, with regard to the Debt

complained of below, qualifies as “communication” as defined by Florida Statutes,

Section 559.55(5).

       11.     At all material times herein, Defendant acted itself or through its agents,

employees, officers, members, directors, successors, assigns, principals, trustees, sureties,

subrogees, representatives, third-party vendors, and insurers.
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       12.     All necessary conditions precedent to the filing of this action occurred or have

been waived by Defendant.

                                  FACTUAL ALLEGATIONS

       13.     Defendant’s telephone calls, as more specifically alleged below, were made to

Plaintiffs’ cellular telephone, number 727.686.9478, (hereinafter, “cellular telephone”) using an

automatic telephone dialing system (hereinafter, “ATDS”) or an artificial or pre-recorded voice

(hereinafter, “APV”).

       14.     Plaintiffs are the owners, regular users, and possessors of a cellular telephone with

the assigned number 727.686.9478.

       15.     On or about January 18, 2013, Plaintiffs retained Leavengood, Dauval & Boyle,

P.A. (hereinafter “Undersigned Counsel”) for representation with regards to their debts

generally, including the Debt.

       16.     On or about March 19, 2013, Defendant sent a letter to Undersigned Counsel’s

office requesting confirmation of Undersigned Counsel’s representation of Plaintiffs with regard

to the Debt. Please see attached a true and correct copy of said letter labeled as Exhibit “A.”

       17.     Undersigned Counsel responded to Defendant’s immediately-aforementioned

letter and confirmed its representation of Plaintiffs with regard to the Debt.

       18.     On or about March 24, 2013, Defendant sent Undersigned Counsel a letter

acknowledging the above-referenced confirmation of representation. Please see attached a true

and correct copy of said letter labeled as Exhibit “B.”

       19.     On or about March 27, 2013, Undersigned Counsel sent Defendant a facsimile

transmission, further providing actual notice of Undersigned Counsel’s representation of

Plaintiffs with regard to the Debt, again providing Undersigned Counsel’s contact information,
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and further advised Defendant that all future communication with regard to the Debt must be

directed to Undersigned Counsel’s office (hereinafter, “FOR”). Please see attached a true and

correct copy of said FOR and fax confirmation sheet labeled as Exhibit “C1-C2.”

       20.     All of the below-alleged collection attempts by Defendant were made despite

Defendant having repeatedly received─ and possessing knowledge─of Undersigned Counsel’s

representation of Plaintiffs with regard to the Debt.

       21.     At no time herein did Defendant have Plaintiffs’ prior express consent to call

Plaintiffs’ cellular telephone using an ATDS or APV.

       22.     Further, if Defendant contends it had such consent, such consent was revoked

upon Defendant’s receipt of Notice of Undersigned Counsel’s representation of Plaintiffs

regarding the Debt.

       23.     Additionally, if Defendant contends these below-alleged phone calls were made

for “informational purposes only,” it lacked the required prior express written consent necessary

to make such informational calls to Plaintiffs’ cellular telephone using an ATDS or APV.

       24.     On or about July 18, 2013, at approximately 5:36 p.m. EST, Defendant called

Plaintiffs’ cellular telephone using an ATDS or APV. Please see attached a true and correct

copy of Plaintiffs’ cellular telephone records labeled as Exhibit “D.”

       25.     The immediately-aforementioned call was placed from telephone number

800.869.3557 and was made in an attempt to collect the Debt.

       26.     On or about July 18, 2013, at approximately 5:44 p.m. EST, Defendant called

Plaintiffs’ cellular telephone using an ATDS or APV. See Exhibit “D.”

       27.     The immediately-aforementioned call was placed from telephone number

800.869.3557 and was made in an attempt to collect the Debt.
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        28.     On or about July 18, 2013, at approximately 5:46 p.m. EST, Defendant called

Plaintiffs’ cellular telephone using an ATDS or APV. See Exhibit “D.”

        29.     The immediately-aforementioned call was placed from telephone number

800.869.3557 and was made in an attempt to collect the Debt.

        30.     On or about July 18, 2013, at approximately 5:53 p.m. EST, Defendant called

Plaintiffs’ cellular telephone using an ATDS or APV. See Exhibit “D.”

        31.     The immediately-aforementioned call was placed from telephone number

800.869.3557 and was made in an attempt to collect the Debt.

        32.     Plaintiffs retained Undersigned Counsel for the purpose of pursuing this matter

against Defendant, and Plaintiffs are obligated to pay their attorneys a reasonable fee for their

services.

        33.     Florida Statutes, Section 559.77 provides for the award of up to $1,000.00

statutory damages per independent, temporally-displaced violation, as well as an award of

attorneys’ fees and costs to Plaintiffs, should Plaintiffs prevail in this matter.

        34.     United States Code, Title 47, Section 227(b)(3) provides for the award of $500.00

or actual damages, whichever is greater, for each telephone call made using any automatic

telephone dialing system or an artificial or pre-recorded voice to Plaintiffs’ cellular telephone in

violation of the TCPA.

        35.     Additionally, United States Code, Title 47, Section 227(b)(3) allows the trial court

to increase the damages up to three times, or $1,500.00, for each telephone call made using any

automatic telephone dialing system or an artificial or prerecorded voice to Plaintiffs’ cellular

telephone in willful or knowing violation of the TCPA.

        36.     At all material times herein, it would have been possible for Defendant to avoid
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violating the terms of the TCPA.

       37.     Plaintiffs have not been able, due to both professional and personal commitments,

to record the specifics of each and every call made by Defendant (as done above). Plaintiffs

assert however, that the above-referenced calls are but a sub-set of calls made by Defendant in

violation of the FCCPA and TCPA.

       38.     Upon information and belief, based upon the aforementioned allegations,

Defendant’s telephone calls made to Plaintiffs’ cellular telephone using an ATDS or an APV

were made in willful and knowing violation of the TCPA.

       39.     As of the date of this complaint, Defendant has not initiated a law suit in an effort

to collect the Debt. Likewise, no final judgment regarding the Debt has been obtained by, or

transferred to, Defendant.

                                COUNT ONE:
                   UNLAWFUL DEBT COLLECTION PRACTICE –
               VIOLATION OF FLORIDA STATUTES, SECTION 559.72(7)

       Plaintiffs re-allege paragraphs one (1) through thirty-nine (39) as if fully restated herein

and further state as follows:

       40.     Defendant is subject to, and has violated provisions of, Florida Statutes,

Section 559.72(7) by collecting consumer Debt from Plaintiffs through means which can

reasonably be expected to abuse or harass Plaintiffs.

       41.     Defendant received actual notice of Undersigned Counsel’s representation of

Plaintiffs with regard to the Debt and possessed Undersigned Counsel’s contact information.

       42.     Despite Defendant’s actual knowledge of Undersigned Counsel’s representation

of Plaintiffs with regard to the Debt, Defendant called Plaintiffs at least four (4) times in the

same day in an attempt to collect the Debt.
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       43.     Defendant’s actions were made in an attempt to abuse and harass Plaintiffs into

paying the Debt.

       44.     Defendant’s willful and flagrant violation of, inter alia, the Florida Consumer

Collections Practices Act as a means to collect a Debt, constitutes unlawful conduct and

harassment as is contemplated under Florida Statutes, Section 559.72(7).

       45.     As a direct and proximate result of Defendant’s actions, Plaintiffs have sustained

damages as defined by Florida Statutes, Section 559.77.

       WHEREFORE, Plaintiffs request this Court enter a judgment against Defendant for

$1,000.00 statutory damages, costs, attorneys’ fees, and such other equitable relief this Court

deems appropriate.

                                COUNT TWO:
                   UNLAWFUL DEBT COLLECTION PRACTICE –
               VIOLATION OF FLORIDA STATUTES, SECTION 559.72(18)

       Plaintiffs re-allege paragraphs one (1) through thirty-nine (39) as if fully restated herein

and further state as follows:

       46.     Defendant is subject to, and has violated provisions of, Florida Statutes,

Section 559.72(18) by intentionally and repeatedly communicating with Plaintiffs after being

given actual notice─and possessing actual knowledge─that Plaintiffs were represented by

counsel with regard to the Debt.

       47.     On or about March 19, 2013, Defendant received actual notice of Undersigned

Counsel’s representation of Plaintiffs with regard to the Debt.

       48.     On or about March 24, 2013, Defendant confirmed knowledge of said

representation in its response letter to Undersigned Counsel
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       49.     On or about March 27, 2013, Defendant again received actual notice of

Undersigned Counsel’s Representation via Undersigned Counsel’s FOR.

       50.     Despite having received actual notice─and possessing actual knowledge─of

Undersigned Counsel’s representation of Plaintiff with regard to the Debt, Defendant called

Plaintiffs at least four (4) times in an attempt to collect the Debt on the same day.

       51.     As a direct and proximate result of Defendant’s actions, Plaintiffs have sustained

damages as defined by Florida Statutes, Section 559.77.

       WHEREFORE, Plaintiffs request this Court enter a judgment against Defendant for

$1,000.00 statutory damages per independent, temporally-displaced violation, costs, attorneys’

fees, and such other equitable relief this Court deems appropriate.

                                 COUNT THREE:
                TELEPHONE COMMUNICATIONS PROTECTION ACT-
               VIOLATION OF 47 United States Code, SECTION 227(b)(1)(A)

       Plaintiffs re-allege paragraphs one (1) through thirty-nine (39) as if fully restated herein

and further state as follows:

       52.     Defendant is subject to, and has violated the provisions of, 47 United States Code,

Section 227 (b)(1)(A) by using an automatic telephone dialing system or an artificial or pre-

recorded voice to call a telephone number assigned to a cellular telephone service without

Plaintiffs’ prior express consent.

       53.     At no time did Defendant have Plaintiffs’ prior express consent to auto-dial

Plaintiffs cellular telephone.

       54.     Further, if Defendant contends it had such consent, such consent was revoked

when Defendant received actual notice of Undersigned Counsel’s representation of Plaintiff with

regard to the Debt.
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       55.     Additionally, if Defendant contends the subject phone calls were made for

“informational purposes only,” it lacked the required prior express written consent necessary to

make such informational calls to Plaintiffs’ cellular telephone using and ATDS or APV.

       56.     Defendant used an automatic telephone dialing system or an artificial or pre-

recorded voice to call Plaintiffs’ cellular telephone at least four (4) times in its attempt to collect

the Debt.

       57.     The conduct of the Defendant complained of herein is the result of repeated

willful and knowing violations of the TCPA.

       58.     As a direct and proximate result of the Defendant’s conduct, the Plaintiffs have

suffered:

               a.      The periodic loss of their cellular telephone service;

               b.      Lost material costs associated with the use of peak time cellular telephone

               minutes allotted under their cellular telephone service contract.

               c.      The expenditure of costs and attorney’s fees associated with the

               prosecution of this matter, along with other damages which have been lost; and

               d.      Statutory damages.

       WHEREFORE, Plaintiffs request this Court enter a judgment against Defendant for

$500.00 statutory damages per violation of the TCPA, treble statutory damages per knowing and

willful violation of the TCPA, actual damages, costs, interest, and such other equitable relief this

Court deems appropriate.

                                  DEMAND FOR JURY TRIAL

       Plaintiffs hereby demand a trial by jury on all issues triable by right.
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             SPOLIATION NOTICE AND DEMAND TO RETAIN EVIDENCE

        Plaintiffs hereby gives notice to Defendant and demand that Defendant and its affiliates

safeguard all relevant evidence─paper, electronic documents, or data─ pertaining to this potential

litigation as required by law.

                                             Respectfully submitted,
                                             LEAVENLAW

                                             /s/ Aaron M. Swift
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